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                               8                                   UNITED STATES DISTRICT COURT

                               9                                NORTHERN DISTRICT OF CALIFORNIA

                              10                                         SAN FRANCISCO DIVISION

                              11 AASYLEI LOGGERVALE; AASYLEI                               Case No. 20-cv-04679-WHA
ORBACH HUFF + HENDERSON LLP




                                   HARDGE-LOGGERVALE; and
                              12 AAOTTAE LOGGERVALE,
                                                                                           DEFENDANTS COUNTY OF
                              13
                                                           Plaintiffs,                     ALAMEDA, STEVEN HOLLAND AND
                              14                                                           MONICA POPE’S NOTICE OF APPEAL
                                   v.                                                      FROM (1) ORDER DENYING
                              15                                                           DEFENDANTS’ POST-JUDGMENT
                              16 COUNTY OF ALAMEDA; STEVEN                                 MOTIONS [DKT. 304], AND (2)
                                   HOLLAND; and MONICA POPE,                               AMENDED JUDGMENT [DKT. 305]
                              17
                                                           Defendants.
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                              21          Notice is hereby given that Defendants COUNTY OF ALAMEDA, STEVEN HOLLAND,
                              22 and MONICA POPE (“Defendants”) appeal to the United States Court of Appeals for the Ninth

                              23 Circuit from: (1) the Court’s June 12, 2023, order on Defendants’ motions for a new trial and judgment

                              24 as a matter of law (Dkt. 304), and (2) the amended judgment entered on June 13, 2023 (Dkt. 305).

                              25 Copies of the order and amended judgment are attached hereto as Exhibits A and B, respectively.

                              26          There is another appeal in this case pending from the judgment that was entered on March 12,
                              27 2023 (No. 23-15483). That appeal is being held in abeyance pending the District Court’s ruling on

                              28 Plaintiffs’ motion to amend the judgment. Defendants intend to pursue both appeals, and will move to

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                                   Defs’ Notice of Appeal From Order Denying Defs’ Post-Judgment Motions & Amended Judgment [20-cv-4679-WHA]
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                               1   consolidate them if they are not automatically docketed together by virtue of arising concurrently in
                               2   the same case.
                               3          The appeal fee is being paid concurrently with filing of this notice.
                               4          The names and addresses of the attorneys for each party are as follows:
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                              21   Dated: July 10, 2023                   Respectfully submitted,
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                              22
                                                                          By:     /s/ Kevin E. Gilbert
                              23
                                                                                  Kevin E. Gilbert
                              24                                                  Attorney for Defendants
                                                                                  COUNTY OF ALAMEDA, STEVEN
                              25                                                  HOLLAND and MONICA POPE
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                                   Defs’ Notice of Appeal From Order Denying Defs’ Post-Judgment Motions & Amended Judgment [20-cv-4679-WHA]
